      Case 1:16-cr-00097-PAC Document 1 Filed 01/15/16 Page 1 of 4


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Approved:
            MAURENE COMEY
            Assistant United States                                   •''''c
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Before:     THE HONORABLE JAMES C. FRANCIS IV
            United States Magistrate Jud?J1
            Southern District of New YorkJ_      6MAG                0320
- - - - - - - - - - - - - - - - - - x

UNITED STATES OF AMERICA                       SEALED COMPLAINT

          - v.   -                            Violation of
                                              18 u.s.c. § 922 (g) (1)
UNIQUE CABINES,
                                               COUNTY OF OFFENSE:
                      Defendant.               BRONX
                     ---------x

SOUTHERN DISTRICT OF NEW YORK, ss.:

          CHRISTOPHER ZAPATA, being duly sworn, deposes and says
that he is a Detective with the New York City Police Department
("NYPD"), and charges as follows:

                                COUNT ONE

          1.   On or about December 28, 2015, in the Southern
District of New York, UNIQUE CABINES, the defendant, after
having been convicted in a court of a crime punishable by
imprisonment for a term exceeding one year, knowingly did
possess in and affecting commerce a firearm, to wit, a .45
caliber semi-automatic Colt model MK IV pistol, which had
previously been shipped and transported in interstate and
foreign commerce.

          (Title 18, United States Code, Section 922 (g) (1).)

          The bases for my knowledge and for the foregoing
charge are, in part, as follows:

          2.   I am a Detective assigned to the Firearms
Enhancement Unit of the NYPD and I have been personally involved
in the investigation of this matter.  This affidavit is based
upon my personal participation in the investigation of this
matter, my conversations with law enforcement agents, witnesses
and others, as well as my examination of reports and records.
      Case 1:16-cr-00097-PAC Document 1 Filed 01/15/16 Page 2 of 4



Because this affidavit is being submitted for the limited
purpose of establishing probable cause, it does not include all
the facts that I have learned during the course of my
investigation. Where the contents of documents and the actions,
statements, and conversations of others are reported herein,
they are reported in substance and in part, except where
otherwise indicated.

          3.   Based on my conversations with four NYPD officers
("Officer-1", "Officer-2", "Officer-3," and "Officer-4,"
collectively, the "Officers") from the 42nd Precinct in the
Bronx, New York, who participated in the arrest of UNIQUE
CABINES, I have learned, among other things, the following:

               a.   On or about December 28, 2015, Officer-1 and
Officer-2 were driving in the vicinity of Vyce Avenue and East
174th Street in the Bronx in a marked police vehicle.

               b.   At approximately 10:15 p.m., the Officers
received a radio call indicating that an incident involving a
possible firearm was taking place at or about 1710 Vyce Avenue.
Because Officer-1 and Officer-2 were already in the vicinity of
that address, they responded to the call.

               c.   Upon arriving at or about the intersection
of Vyce Avenue and East 174th Street, Officer-1 and Officer-2
observed an individual (the "Victim") waiving to get their
attention. Upon parking and exiting their vehicle, Officer-1
and Officer-2 spoke with the Victim, who stated that a black
male wearing a grey hooded sweatshirt had pointed a gun at the
Victim and the Victim's children on the street. The Victim
indicated that after pointing the gun, the black male walked
into the front entrance of the building located at 1710 Vyce
Avenue (the "Building").

               d.   Officer-1 and Officer-2 then entered the
Building with the Victim and spoke with a Building employee in
the lobby. When asked whether a black male wearing a grey
hooded sweatshirt had just entered the Building, the employee
answered in sum and substance that an individual matching that
description had just walked into the Building and that he lived
in the building in Apartment 4E (the "Apartment").

               e.   The employee then took Officer-1 and
Officer-2 to the fourth floor of the building while the Victim
waited in the lobby. Upon approaching the door to the
Apartment, Officer-1 and Officer-2 heard noises inside the
apartment and called for backup.

                                    2
      Case 1:16-cr-00097-PAC Document 1 Filed 01/15/16 Page 3 of 4



                f.   At about that same time, Officer-3 and
Off icer-4 were on duty in a marked police vehicle when they
received radio calls reporting the same incident involving a
potential firearm and requesting backup. Within approximately
five minutes, Officer-3 and Officer-4 arrived at 1710 Vyce
Avenue, entered the Building, and met Officer-1 and Officer-2 on
the fourth floor.

               g.   The Officers then stood by the door to the
Apartment with two officers on either side and knocked on the
door, announcing themselves as police officers.  In response, a
black male wearing a grey hooded sweatshirt, later identified as
CABINES, opened the door to the Apartment.

               h.   The Officers then observed CABINES, who
appeared agitated, make a movement with his hand toward his
side.  In response, the Officers pulled CABINES into the hallway
and pushed his hands against the wall. Officer-3 then frisked
CABINES and retrieved a .45 caliber semi-automatic Colt model MK
IV pistol (the "Firearm") from his right pants pocket. Officer-
3 secured the Firearm and found that it was loaded with one
bullet in the chamber.

               i.   CABINES was then placed under arrest, at
which point Officer-1 and Officer-3 returned to the lobby of the
Building, where they met the Victim, who agreed to go to the
fourth floor to attempt to identify the individual in custody.
Upon arriving on the fourth floor with Officer-1 and Officer-3,
the Victim positively identified CABINES as the individual who
had pointed a gun at the Victim and the Victim's children on the
street.

          4.   Based on my review of an NYPD Firearm Examination
Report, I have learned that the Firearm recovered from UNIQUE
CABINES, the defendant, is a .45 caliber semi-automatic Colt
model MK IV pistol.  I have also learned that the pistol was
operable.

          5.   Based on my training and experience, and my
communications with other law enforcement agents, including a
Special Agent from the Bureau of Alcohol, Tobacco, Firearms and
Explosives who is familiar with the manufacturing of firearms, I
know that .45 caliber semi-automatic Colt model MK IV pistols
are not and have never been manufactured in New York State.

          6.   I have reviewed criminal history records
pertaining to UNIQUE CABINES, the defendant, which show that
CABINES was: convicted on or about July 31, 2003, in the Supreme


                                    3
       Case 1:16-cr-00097-PAC Document 1 Filed 01/15/16 Page 4 of 4



Court of the State of New York, New York County, of Criminal
Possession of a Loaded Firearm in the Third Degree, in violation
of New York Penal Law § 265.02, a Class D felony, which is
punishable by imprisonment for more than one year.

          WHEREFORE, deponent respectfully requests that a
warrant be issued for the arrest of UNIQUE CABINES, the
defendant, and that he be arrested and imprisoned or bailed, as



                                         c
the case may be.



                            Detective             er Zapata
                            New York City P     ice Department


Sw~n   to before me this
~-~ay of January,    2016



THE           JAMES C. FRANCIS IV
UNI ED STATES MAGISTRATE JUDGE
SOU ERN DISTRICT OF NEW YORK




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